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                                 No. 23-15911


          UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT


                                   HEY, INC.,
                                                         Plaintiff-Appellee,
                                       v.

                                TWITTER, INC.,
                                                      Defendant-Appellee,
                                       v.

                         JOHN DOE 1 AND JOHN DOE 2,
                                                   Movants-Appellants.


                On Appeal from the United States District Court
   for the Northern District of California, No. 4:22-MC-80034-DMR (Ryu, J.)


              BRIEF FOR DEFENDANT-APPELLEE
      TWITTER, INC. IN SUPPORT OF MOVANTS-APPELLANTS


JONATHAN HAWK                               ARI HOLTZBLATT
MCDERMOTT WILL & EMERY                      JEREMY W. BRINSTER
2049 Century Park East                      WILMER CUTLER PICKERING
Suite 3200                                     HALE AND DORR LLP
Los Angeles, CA 90067                       2100 Pennsylvania Avenue NW
(310) 788-4181                              Washington, DC 20037
                                            (202) 663-6000
                                            ari.holtzblatt@wilmerhale.com
                                            EMILY BARNET
                                            WILMER CUTLER PICKERING
                                              HALE AND DORR LLP
                                            7 World Trade Center
                                            250 Greenwich Street
November 20, 2023
                                            New York, NY 10007
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, the undersigned

counsel for X Corp., successor in interest to named Defendant-Appellee Twitter,

Inc., states that Twitter, Inc. has been merged into X Corp. and no longer exists. X

Corp. is a privately held corporation. Its parent corporation is X Holdings Corp.

No publicly traded corporation owns 10% or more of the stock of X Corp. or X

Holdings Corp.




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                               INTRODUCTION

      The mission of X Corp.—the successor to named Defendant-Appellee

Twitter, Inc.—is to promote and protect the public conversation. X Corp. is

committed to free expression for all who gather on its platform, X (formerly

Twitter), to speak and to listen, including the accountholders whose speech has

been targeted in this case. An integral part of that commitment is giving people a

choice about how to present themselves to the public. X Corp. therefore allows the

use of pseudonymous accounts, meaning an account’s profile is not required to use

the real name or image of the accountholder. And when X Corp is served with

legal process seeking to unmask the identities of accountholders who have chosen

to speak anonymously on its platform, X Corp. regularly takes steps to protect

those accountholders’ anonymity, including by moving to quash.

      That is what happened here: Plaintiff-Appellee hey, inc. (“Hey”), a

Japanese company, applied under 28 U.S.C. § 1782 for permission to issue a

subpoena demanding that X Corp. hand over documents providing information

about the identities of three anonymous X accountholders because they used their

accounts to publicly criticize Hey, its current CEO, and former CEO. Two of those

three accountholders are Movant-Appellants John Doe 1 and John Doe 2 (the

“Does”). According to Hey, it intended to use information about the

accountholders’ identities to sue them in Japan. X Corp. moved to quash, arguing


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that the court could not enforce the subpoena because unmasking the

accountholders would result in First Amendment harms and Hey had not

established a real evidentiary basis for its contemplated suit or shown that its

interest in discovery outweighed those harms. The Does joined the motion and

continue to fight Hey’s subpoena before this Court.

      As the Does correctly argue in their opening brief, the district court erred

when it enforced Hey’s subpoena because it disregarded the First Amendment

interests at stake and thus failed to apply the test set out in Highfields Capital

Management, L.P. v. Doe, 385 F. Supp. 2d 969, 980 (N.D. Cal. 2005). Because the

right to speak anonymously is an essential component of the right to free speech

protected by the First Amendment, courts routinely hold plaintiffs to a high

standard before enforcing subpoenas that would unmask anonymous speakers like

the accountholders. Courts in this Circuit typically apply the test set forth in

Highfields, which requires that a plaintiff present a “real evidentiary basis” for the

claims it seeks to assert, and that the court determine that “enforcing the subpoena

would cause relatively little harm to the defendant’s First Amendment and privacy

rights and that its issuance is necessary to enable plaintiff to protect against or

remedy serious wrongs.” Id. at 975-976. The Highfields test embodies the

minimum constitutional safeguards that courts must apply when evaluating a




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subpoena that would unmask anonymous speech, including in the form of a

discovery request under Section 1782.

      The district court believed that it need not apply Highfields because there

was no evidence indicating that the accountholders in this case are U.S. citizens

and so, it believed, there were no First Amendment interests at stake. That was

error, as the Does have argued. Contrary to a recent—and misguided—trend of

district court decisions, Highfields applies even when plaintiffs seek to unmask

anonymous speakers who are noncitizens outside of the United States or whose

citizenship is not clear from the record. In such cases, the First Amendment

protects the rights of U.S. citizens to hear the anonymous speech at issue, the

rights of U.S.-based platforms such as X to disseminate the anonymous speech,

and the rights to speak anonymously of the speakers themselves, who may have

First Amendment protections by virtue of their substantial connections to the

United States, even if they are not U.S. citizens. Each of those interests is

implicated here. Unmasking the accountholders would burden the rights of

American citizens (including potential U.S.-based investors in Hey) to receive

anonymous speech ostensibly critical of Hey’s high-level corporate executives;

would interfere with X Corp.’s right to curate a platform where anonymous

speakers can gather and converse; and would potentially infringe the rights of the




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accountholders themselves, who at the very least have sought to further their

connections with the United States by speaking on X, a U.S.-based platform.

      The district court’s refusal to apply Highfields—and its disregard for the

First Amendment interests at stake—led it to misapply the law. As the Does

argued, if the district court had held Hey to the Highfields standard, it would have

found that Hey failed to make the required showing in support of its Japanese law

claims. This Court should reverse.

                           STATEMENT OF ISSUES

      1.     Whether the district court abused its discretion by declining to apply

the standard articulated in Highfields Capital Management, L.P. v. Doe, 385 F.

Supp. 2d 969 (N.D. Cal. 2005), and consistently applied by courts across the

country, before ordering X Corp. to produce documents providing information

about the identity of users who have chosen to speak anonymously on its platform.

      2.     Whether the district court abused its discretion by denying the motion

to quash where the subpoena applicant made no showing that its claims against the

anonymous speakers targeted by the subpoena would succeed.

                         STATEMENT OF THE CASE

      A.     The X Platform

      X Corp. operates X, a global communications platform through which over

half a billion people share views and follow current events. X Corp. “believe[s]


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giving people choice in terms of how they represent themselves online enables

them to express themselves and control their privacy.” Misleading And Deceptive

Identities Policy, X Help Center (Apr. 2023), https://tinyurl.com/287ejm7f. It

therefore “allows the use of pseudonymous accounts, meaning an account’s profile

is not required to use the name or image of the account owner.” Id.

      B.    John Doe 1, John Doe 2, And @DJ_AsadaAkira’s X Accounts

      Appellants John Doe 1 and John Doe 2 are X accountholders who engage in

anonymous speech on X Corp.’s online platform. 1-ER-3-4; 3-ER-185-186. Their

accounts are “@cogitopp” and “@mlnk901” respectively. Does Br. 4. Appellee

Hey is a Japanese startup company that seeks to compel X Corp. to produce

documents that would reveal information about the real identities of the Does and a

third, non-party anonymous accountholder, who operates the handle

@DJ_AsadaAkira. According to Hey, it plans to sue the operators of those

anonymous accounts in Japan for defamation and unlawful business interference.

1-ER-3.

      Hey asserts that its claims in Japan would be based on a series of Japanese-

language posts made by the Does and @DJ_AsadaAkira (collectively the




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“accountholders”) on X. 1 First, Appellants posted several remarks critical of an

unnamed company and its CEO. 3-ER-186-187:

   • Tweet 1A by @mlnk901 on September 10, 2021: “When a friend who
     works for a fund asked me about a certain company H, I told him there are
     some shady stuff lurking in multiple areas other than business potential and
     track record. He seemed to have decided not to be involved with the
     company after also personally feeling it risky. And the tequila incident
     happened sometime after that. I guess his decision turned out to be a good
     one.” 3-ER-186; 3-ER-286.

   • Tweet 1 by @cogitopp on September 10, 2021: “To begin with, the top of
     a certain company H has slept with so many employees back when he was at
     Frea○Out. And apparently, he hasn’t changed even at the certain company
     H. I don’t mind him playing around but it’s inappropriate as a CEO to
     continue hitting on employees…” 3-ER-186; 3-ER-286. 2

   • Tweet 2 by @cogitopp on September 10, 2021: “I heard from employees
     at both a certain company F and a certain company H. He was particularly
     aggressive when he was at the certain company F, and I think every
     employee knows.” 3-ER-187; 3-ER-287.3

About two weeks later, John Doe 2 tweeted again, this time asking why Bain

Capital, a U.S.-based investment firm, would “invest on hey”:

   • Tweet 3 by @mlnk901 on September 26, 2021: “My impression of Ba○n
     Capital is that they are a group of super-talented people and post excellent
     results, but I don’t understand why they would invest on hey while being
     aware of the risks. I know my acquaintances must be very intelligent and


      1
        This brief uses the English translations of these posts provided by Hey in
support of its Section 1782 application. 3-ER-311-316; see also 3-ER-186-187.
      2
        Tweet 1 is a retweet of Tweet 1A. 3-ER-239 (¶ 13); 3-ER-277-278. The
text appears as “Frea○Out” in the original Tweet. John Doe 1 has stated that the
Tweet intentionally left out the letter “k” to obscure its reference to “FreakOut.” 2-
ER-161 (¶ 12).
      3
          Tweet 2 is a reply to Tweet 1. 3-ER-239-240 (¶ 13).
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      have enough common sense to judge between wight [sic] and wrong, but
      apparently there seem to be someone not like that.” 3-ER-187; 3-ER-287. 4

Over a month later, @DJ_AsadaAkira made a reference to current Hey CEO

Yusuke Sato and former CEO Yusuke Mitsumoto committing or supporting

unethical conduct:

   • Tweet 4 by @DJ_AsadaAkira on October 27, 2021: “To Mr. Kentaro
     Kewabe, Z Holdings (@dennotai), I believe entrepreneurship embracing
     unethical and law-evading spirits such as Yusuke Mitsumoto and supporters
     like Anri Samata and Yusuke Sato in the entrepreneurial community should
     be criticized first to purge out from the community before making political
     statements. What do you think?” 3-ER-187; 3-ER-287.

      C.       Proceedings Below

      On February 1, 2022, Hey submitted an ex parte application under 28 U.S.C.

§ 1782 for leave to issue a subpoena to X Corp. for documents that would disclose

identifying information about the users of the accounts that posted these Tweets.

3-ER-285-295. Hey argued that the Tweets defamed and unlawfully interfered

with the company in the following ways: First, Tweets 1A and 2 purportedly

linked “Company H” to a “tequila incident,” which Hey understood to refer to a

“notable event” in Japan when former Hey CEO Mitsumoto “played a ‘tequila

game’ with a female in Tokyo, whose condition suddenly changed thereafter, and

she was rushed to the hospital where she died.” 3-ER-286. Second, Tweet 1



      4
         The text appears as “Ba○n Capital” in the original Tweet. John Doe 2 has
stated that the Tweet was referencing Bain Capital. 2-ER-165 (¶ 5).
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mentioned “Frea○Out,” a supposed reference to FreakOut Holdings, Inc., a

company founded by current Hey CEO Sato. 3-ER-286. Third, Tweet 3

mentioned Hey and purportedly suggested that investing in the company was

unwise. 3-ER-287. Finally, Tweet 4 referred to Mitsumoto and Sato and stated

that “entrepreneurship embracing unethical and law-evading spirits … should be

criticized.” 3-ER-287. Hey argued that the Tweets were actionable under

Japanese law because they purportedly “contain[ed] false factual statements” that

harmed Hey’s reputation, 3-ER-299-300, “diminish[ed] the objective social

evaluation of [Hey’s] morality, reputation and trustworthiness,” 3-ER-300, and

“were tweeted for harassment purposes,” id. Hey sought to unmask the

accountholders on the grounds that it “intends to bring a lawsuit in Japan.” 3-ER-

288.

       The district court granted Hey’s ex parte application. 3-ER-282. The court

found that the statute authorized it to issue the subpoena and then briefly analyzed

the four discretionary factors that the Supreme Court set out for Section 1782

applications in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004).

3-ER-280-282. Those four factors require a district court to consider [1] whether

“the person from whom discovery is sought is a participant in the foreign

proceeding,” [2] “the nature of the foreign tribunal” and its “receptivity … to U.S.

federal court judicial assistance,” [3] whether the discovery sought “conceals an

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attempt to circumvent foreign proof-gathering restrictions or other policies of a

foreign country or the United States,” and [4] whether the request is “unduly

intrusive or burdensome.” Intel, 542 U.S. at 264-265. The court did not consider

whether unmasking the accountholders would violate the First Amendment.

      Before granting Hey’s application, the court did not hear from X Corp. or

the accountholders, but it held that both should be provided a mechanism to

“contest the disclosure of [the accountholders’] personal identifying information

pursuant to the subpoena.” 3-ER-282. The court thus directed X Corp. to serve

the subpoenas and the court’s order on the accountholders, and provided X Corp.

and the accountholders 30 days from the date of service to contest the subpoena.

Id.

      Hey served the subpoena on April 22, 2022. 3-ER-215-219. Hey sought

from X Corp. “all names, addresses … email addresses … and telephone numbers”

for the accountholders; the names and addresses of credit card holders registered to

those accounts; and the “dates, times, IP addresses, and access type” used by the

three accounts to make the Tweets in question. 3-ER-219. X Corp. notified the

accountholders of the subpoena. See Dist. ECF 9 at 1.

      X Corp. moved to quash the subpoena, arguing that the third and fourth Intel

factors militated against issuance of a subpoena seeking to unmask the anonymous

speakers. 3-ER-183-207. X Corp. principally argued that the fourth Intel factor

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supported quashing the subpoena as unduly intrusive and burdensome because Hey

could not satisfy the test for unmasking anonymous speakers set out in Highfields

Capital Management, L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005). That test

balances a plaintiff’s interest in pursuing viable claims against the First

Amendment harms that result from unmasking anonymous speakers. It requires

the plaintiff to demonstrate that it has a “real evidentiary basis” for viable claims

and to show that the unmasking is necessary to enable the plaintiff to pursue those

claims. 3-ER-188-196. Hey never disputed that it was required to meet the

Highfields standard. Instead, Hey agreed that the fourth Intel factor turned on

whether “the Highfields test is satisfied,” see 2-ER-66, and argued that it satisfied

Highfields because it established that the Tweets constituted defamation and

business interference under Japanese law, 2-ER-61-66, and that Hey’s “need for

discovery outweighs the anonymous [X] users’ interest in anonymous internet

speech,” 2-ER-66; see Does Br. 13-14. X Corp. also argued that the third Intel

factor supported quashing the subpoena because the subpoena would circumvent

United States policies by punishing speech protected by the First Amendment. 3-

ER-196-206. In response, Hey argued only that “an anonymous speaker may be

unmasked when his statement is found to be defamation under Japanese law.” 2-

ER-67-68 (citing In re Yasuda, 2020 759404, at *6 (N.D. Cal. Feb. 14, 2020)).




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      Counsel appeared on behalf of two of the accountholders, John Doe 1 and

John Doe 2. The Does joined in the motion to quash. 2-ER-154-158. The third

accountholder, @DJ_AsadaAkira, never appeared in the proceedings. 1-ER-7.

      The district court denied the motion to quash. Although the court had

previously required a Section 1782 applicant to satisfy the Highfields test before

unmasking an anonymous speaker, 1-ER-7, the court here declined to do so

because “recent opinions” from judges in the Northern District of California had

rejected application of that test “where the record does not indicate that anonymous

speakers are U.S. citizens and thus possess First Amendment rights.” 1-ER-6-7.

The court then found it sufficient that Hey had “‘described the legal and factual

bases for its contemplated foreign legal proceeding’ and explained how the

discovery it seeks … ‘will aid prosecution of that proceeding.’” 1-ER-13

(alterations omitted). And the court found that enforcing the subpoena would not

violate U.S. policy because the speakers to be unmasked did not “possess First

Amendment protections.” 1-ER-14.

      The Does appealed the order denying the motion to quash. 3-ER-332. This

Court set a briefing schedule under which the Does, as Movant-Appellants, would

file an opening brief and both Plaintiff-Appellee Hey and Defendant-Appellee X

Corp. would file answering briefs on the same date. Dkt. 1. After the Does timely

filed their brief, Dkts. 8, 11, X Corp. obtained a streamlined 30-day extension to

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file its answering brief, moving the deadline for both X Corp.’s and Hey’s briefs to

November 20, 2023. Dkt. 22. Less than a week later, counsel for X Corp.

informed counsel for Hey and the Does that they expected Hey might wish to

respond to arguments raised by X Corp. in its brief and that X Corp. would not

oppose a request by Hey to extend the briefing schedule so that Hey could file its

brief some period of time after X Corp. Holtzblatt Decl. ¶ 2. Counsel for the Does

responded that they also would not oppose such a request. Id. ¶ 3. Counsel for

Hey never responded. ¶ 4. Instead, Hey filed its answering brief over a month

before the deadline. Dkt. 24.5

                             STANDARD OF REVIEW

      This Court reviews the district court’s decision under 28 U.S.C. § 1782 for

abuse of discretion. Four Pillars Enters. v. Avery Dennison Corp., 308 F.3d 1075,

1078 (9th Cir. 2002). “A district court abuses its discretion when it applies the

incorrect legal standard or if its application of the correct legal standard was

illogical, implausible, or without support from the facts in the record.” United

States v. Williams, 68 F.4th 564, 571 (9th Cir. 2023). “Reversal is warranted when

‘the district court misperceives the law or does not consider relevant factors and

thereby misapplies the law.’” Id.


      5
        X Corp. was not required to file its own notice of appeal. “[A]n appellee
need not cross-appeal to argue in support of the appellant.” 15A Wright & Miller,
Federal Practice & Procedure § 3904 (3d ed. Apr. 2022 update).
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                       SUMMARY OF THE ARGUMENT

      The district court abused its discretion when it declined to quash the

subpoena because it misapplied the law under Section 1782.

      I.     The district court erred in declining to require Hey to satisfy the

Highfields test. Because a core component of the freedom protected by the First

Amendment is the right to speak anonymously, a district court must apply the

Highfields test before issuing or enforcing a subpoena under Section 1782 that

would unmask an anonymous speaker.

      The district court mistakenly dismissed the First Amendment interests at

stake in this case. The court’s decision reflects a worrying trend of district courts

casting aside the vital protections of Highfields when reviewing a subpoena

seeking to unmask anonymous speakers who are noncitizens or whose citizenship

is unclear. Such a subpoena burdens the rights of American citizens to hear the

speech, the rights of U.S.-based platforms such as X to disseminate anonymous

speech, and the rights to speak anonymously of noncitizens who possess First

Amendment protections based on their connections to the United States.

      The Highfields test protects these First Amendment rights by requiring that a

plaintiff seeking a subpoena to unmask an anonymous speaker make an evidentiary

showing of a viable claim and demonstrate that disclosure of the speaker’s identity

is necessary to pursue that claim. The Highfields test aligns with similar tests


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applied by jurisdictions across the country to protect anonymous speech. And it

implements, in the context of subpoenas, the “exacting scrutiny” standard that the

Supreme Court applies to burdens on anonymous speech. Applying a less

demanding standard than the Highfields test to a subpoena that seeks to unmask an

anonymous online speaker would unjustifiably chill valuable speech.

      II.    The Does would have prevailed if the district court had applied

Highfields, as it was required to do. Hey failed to make the requisite evidentiary

showing to support its Japanese law claims, and failed to establish that the balance

of harms weighed in its favor. The Court should therefore reverse and order the

district court to quash the subpoena.

                                   ARGUMENT

I.    THE DISTRICT COURT ABUSED ITS DISCRETION BY NOT APPLYING
      HIGHFIELDS

      As the Does explain, the district court abused its discretion by refusing to

apply the Highfields test before sustaining a subpoena seeking to unmask

anonymous online speakers. Does Br. 7. An “author’s decision to remain

anonymous, like other decisions concerning omissions or additions to the content

of a publication, is an aspect of the freedom of speech protected by the First

Amendment.” McIntyre v. Ohio Elections Comm., 514 U.S. 334, 342 (1995).

Anonymous speech is part of “an honorable tradition of advocacy and of dissent.”

Id. at 357. Indeed, historical evidence suggests that its protection was embodied in

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the original meaning of the First Amendment. Id. at 371 (Thomas, J., concurring).

And as this Court has emphasized, anonymous speech online “stands on the same

footing”—and so is entitled to the same First Amendment protections—“as other

[anonymous] speech.” In re Anonymous Online Speakers, 661 F.3d 1168, 1173

(9th Cir. 2011) (citing Reno v. ACLU, 521 U.S. 844, 870 (1997)). The

constitutional protections afforded to anonymous speech therefore require that in

all cases—including those brought under Section 1782—courts asked to authorize

a subpoena that would unmask an anonymous speaker “appropriately consider[]

the important value of anonymous speech balanced against a party’s need for

relevant discovery in a civil action.” Id. at 1176.

      Courts in this Circuit ordinarily safeguard the right to speak anonymously by

applying the test outlined in Highfields Capital Management, L.P. v. Doe, 385 F.

Supp. 2d 969 (N.D. Cal. 2005). And “most if not all cases in the Northern District

of California” have historically “applied the Highfields test where anonymous

speech was implicated in the 1782 context.” Does Br. 15. See also, e.g., In re

DMCA § 512(h) Subpoena to Twitter, Inc., 608 F. Supp. 3d 868, 876 (N.D. Cal.

2022); Wirt v. Twitter, Inc., 2021 WL 5919846, at *1-3 (N.D. Cal. Dec. 15, 2021);

Tokyo Univ. of Social Welfare v. Twitter, Inc., 2021 WL 4124216, at *4 (N.D. Cal.

Sept. 9, 2021); In re PGS Home Co. Ltd., 2019 WL 6311407, at *6 (N.D. Cal.

Nov. 25, 2019); Music Grp. Macao Commercial Offshore Ltd. v. Does, 82 F. Supp.

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3d 979, 983 (N.D. Cal. 2015); Fodor v. Doe, 2011 WL 1629572, at *3 (D. Nev.

Apr. 27, 2011).

      The Highfields test requires a party seeking to unmask an anonymous

speaker to present a “real evidentiary basis” for believing that the plaintiff has

suffered a real harm to interests that the law protects. Highfields, 385 F. Supp. 2d

at 975-976. If the plaintiff does so, the court then must determine that “enforcing

the subpoena would cause relatively little harm to the defendant’s First

Amendment and privacy rights and that its issuance is necessary to enable [the]

plaintiff to protect against or remedy serious wrongs.” Id. at 976.

      The Does correctly contend the district court abused its discretion when it

declined to apply Highfields here. Does Br. 7. The district court was required to

apply Highfields under Section 1782 because the subpoena threatens the First

Amendment interests of U.S. citizen listeners, U.S.-based platforms, and

noncitizens with substantial connections to the United States. Because it did not

apply Highfields, the district court did not properly balance Hey’s interest in

unmasking against the First Amendment interests at stake—as required by

Supreme Court precedent applying exacting scrutiny to burdens on anonymous

speech—and undermined important public interests in anonymous speech.




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      A.     The Highfields Test Must Be Applied Under Intel Because A
             Section 1782 Discovery Order Is Not “Appropriate” If It Would
             Burden First Amendment Rights Without Adequate Justification

      Section 1782 “authorizes, but does not require, a federal district court to

provide judicial assistance to foreign or international tribunals or to ‘interested

person[s]’ in proceedings abroad.” Intel Corp. v. Advanced Micro Devices, Inc.,

542 U.S. 241, 247 (2004). If a court concludes that it has statutory authority to

grant a discovery application under Section 1782, the court must then determine

“whether a discovery order should be granted in a particular case,” id. at 264

(emphasis added), or if the request should instead be “rejected or trimmed,” id. at

265. In Intel, the Supreme Court identified four factors that “bear consideration in

ruling on a [Section 1782] request.” Id. at 264. These factors are “guides for the

exercise of district-court discretion,” id. at 263 n.15, but “whether a discovery

order should be granted in a particular case” might depend on additional

considerations that the Supreme Court determined were best to “leave … to the

courts below,” id. at 264, 266. See also id. at 264 (rejecting “categorical

limitations on [Section 1782’s] scope”).

      Intel requires district courts considering a Section 1782 application to assure

themselves that discovery assistance “is appropriate.” 542 U.S. at 247. Under this

standard, district courts should not authorize discovery that would burden First

Amendment rights, including when a subpoena seeks to unmask an anonymous


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speaker without adequate justification. When the discovery assistance sought

would compel the disclosure of an anonymous speaker’s identity, the plaintiff

seeking such assistance must therefore satisfy the Highfields test.

      The Intel factors themselves make clear that authorizing discovery would be

inappropriate where First Amendment rights are burdened unjustifiably. The

fourth Intel factor indicates that courts should deny—in whole or part—requests

that are “unduly intrusive or burdensome.” 542 U.S. at 265. A “request for

identifying information” that undermines First Amendment protections therefore

“is unduly burdensome under Intel.” In re PGS, 2019 WL 6311407, at *6. And

the third Intel factor asks whether a Section 1782 request “conceals an attempt to

circumvent foreign proof-gathering restrictions or other policies of a foreign

country or the United States.” 542 U.S. at 265. Granting a discovery order that

burdens anonymous speech would circumvent “[t]he policy of the First

Amendment,” which “favors dissemination of information and opinion.” Bigelow

v. Virginia, 421 U.S. 809, 829 (1975). As one court recently observed in the

Section 1782 context, “the principles underlying the First Amendment may counsel

a court of the United States against exercising its discretion to aid in punishing

speech that would be protected in this country.” See In re Plan. & Dev. of Educ.,

Inc., 2022 WL 228307, at *4 n.3 (N.D. Cal. Jan. 26, 2022).




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      Moreover, courts are not limited to the four factors discussed in Intel when

considering whether to permit discovery under Section 1782. Courts “should also

take into account any other pertinent issues arising from the facts of the particular

dispute.” Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895 F.3d 238,

245 (2d Cir. 2018); see also In re Cathode Ray Tube (CRT) Antitrust Litig., 2013

WL 183944, at *4 (N.D. Cal. Jan. 17, 2013) (in Section 1782 case, “the Special

Master did not err in considering additional factors he thought appropriate” beyond

the Intel factors). For example, in one of the cases relied upon by the district court

here, the court deemed it “appropriate” under Section 1782 not to limit itself to the

Intel factors, but to consider “the merits of [the] foreign claim” as well. See Zuru,

Inc. v. Glassdoor, Inc., 614 F. Supp. 3d 697, 703 (N.D. Cal. 2022).

       The factors discussed in Intel, and Intel’s basic command that discovery

assistance must be “appropriate” to the particular case, require that courts in

Section 1782 cases apply the Highfields test to subpoenas seeking to unmask

anonymous users. Highfields recognizes that a speaker’s interests in remaining

anonymous are rooted in the First Amendment “right to express most effectively

and anonymously, without fear of expensive adverse consequences … views about

matters in which many other members of the public are interested.” 385 F. Supp.

2d at 974-975. And it weighs these considerations against a plaintiff’s interests in

protecting its rights under federal and state law. See id. at 975. For example, in

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Highfields, the court balanced two conflicting interests: on the one hand, the First

Amendment interests of an anonymous speaker who had used the name

“highfieldscapital” to post online messages that appeared to contain insider

information about a company in which Highfields—a multibillion dollar hedge

fund manager—was the largest shareholder, id. at 973; and on the other hand,

Highfields’ interest in “preventing competitive commercial exploitation of its

property (name) and in protecting itself from unfair commercial abuse,” id. at 975.

      By “strik[ing] an appropriate balance between competing interests and

public policies,” 385 F. Supp. 2d at 974, the Highfields test ensures that discovery

assistance is appropriate and not unduly burdensome or in contravention of U.S.

policies under Intel. Like all courts evaluating subpoenas that would unmask

anonymous speakers, courts in Section 1782 cases must therefore “consider the

potential chilling effect of ordering disclosure of the anonymous defendant’s

identity.” In re Yasuda, 2020 WL 759404, at *6 (N.D. Cal. Feb. 14, 2020). And

they must do so by applying the Highfields test.

      B.     The Highfields Test Must Be Applied Even If The Anonymous
             Speakers To Be Unmasked May Be Noncitizens Outside The
             United States

      The district court determined that it need not apply Highfields because it

believed that the First Amendment categorically is not implicated when a subpoena

seeks to unmask the anonymous speech of a noncitizen outside of the United


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States. 1-ER-6-8, 1-ER-13-14. But as the Does explain, the court “abused its

discretion in not analyzing the Section 1782 application under the Highfields test,”

Does Br. 7. X Corp. and the Does had argued to the district court that “Hey’s

Section 1782 application should be analyzed under the Highfields test” and “Hey

never argued in its opposition … that the Highfields test was inapplicable.” Id. at

13. Yet, contrary to the agreement of both the parties and “most if not all cases”

that had been decided at the time of the motion to quash, id. at 15, the court sua

sponte held that Highfields did not apply. Its decision is part of a recent, worrying

trend of district courts that have “declined to apply the Highfields test in the

Section 1782 context” when confronted with a subpoena seeking to unmask

anonymous speech by noncitizens abroad. Id.; see, e.g., Zuru, 614 F. Supp. 3d at

706; In re Takada, 2023 WL 1442844, at *3 (N.D. Cal. Feb. 1, 2023); Takagi v.

Twitter, 2023 WL 1442893, at *3-4 (N.D. Cal. Feb. 1, 2023).

      The district court’s sua sponte decision to discard the vital protections of

Highfields was especially flawed because even Zuru, which declined to apply

Highfields, recognized that Intel may require review of the merits of the plaintiff’s

claim before a Section 1782 application is granted. 614 F. Supp. 3d at 703. As the

Zuru court observed, “[t]here are competing interests at play” when a subpoena

seeks to unmask anonymous speakers, even if the citizenship of those speakers is

not clear from the record. Id. While a platform “wants to safeguard anonymous

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speech on its website,” a plaintiff may “want[] to protect its reputation.” Id. “Both

interests can’t simultaneously be accommodated,” and “[i]n deciding which

interest should prevail, the merits matter.” Id. The Zuru court accordingly took

“[a] peek at the merits” to “ensure that [the plaintiff] ha[d] legitimate reasons for

outing the anonymous [speakers].” Id. Zuru thus upheld an unmasking subpoena

only after determining that the plaintiff had “done enough to show that its

defamation claim [was] plausible,” id. at 708, including by putting forward

“evidence” that “could be used to prove” the elements of its claim, id. at 706.

      In any event, like the district court’s decision below, the recent “series of

district court decisions [that] have declined to apply the Highfields test,” Does Br.

15, gives short shrift to the First Amendment rights at stake, and Hey does not even

attempt to defend their reasoning, Hey Br. 3-4. When noncitizens abroad are

penalized for speaking anonymously on U.S. platforms, the rights of American

citizens to hear that speech, the rights of platforms to disseminate it, and even the

rights of noncitizens—who may themselves enjoy a substantial connection to the

United States—to speak in the first place, all are threatened.

             1.     Unmasking Anonymous Speech By Noncitizens Abroad
                    Burdens The Right Of American Citizens To Hear That
                    Speech

      The subpoena in this case implicates the First Amendment right of U.S.

citizens to “receive information and ideas.” See Kleindienst v. Mandel, 408 U.S.


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753, 762-763 (1972). The Supreme Court has recognized the First Amendment

burdens imposed by state action that restricts the free flow of information from

abroad, including information and ideas expressed by foreign speakers. See id. at

764-765; Lamont v. Postmaster General of U.S., 381 U.S. 301, 306-307 (1965).

This Court too has held that “the First Amendment right to receive information

includes the right to receive information from outside the United States.” Thunder

Studios, Inc. v. Kazal, 13 F.4th 736, 743-744 (9th Cir. 2021). The court abused its

discretion by failing to consider these potential First Amendment burdens when it

declined to apply the Highfields test.

      Decisions of the Supreme Court and this Court firmly establish that

curtailing speech by noncitizens abroad implicates the First Amendment rights of

U.S.-based listeners. In Lamont, the Supreme Court held that the First Amendment

barred the postal service from holding back “communist political propaganda” sent

from abroad and imposing an affirmative obligation on addressees within the

United States to request in writing that the mail be delivered. 381 U.S. at 302,

306-307. The Lamont Court emphasized that federal agencies could not “regulate

the flow of mail” so as to “control the flow of ideas to the public.” Id. at 306. Key

to the Court’s holding was that the regulation would likely cause addressees “to

feel some inhibition” in sending for the literature, which underscored that the




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regulation was “at war with the ‘uninhibited, robust, and wide-open’ debate and

discussion that are contemplated by the First Amendment.” Id. at 307.

       In Mandel, the Supreme Court held that the First Amendment was

implicated by the Attorney General’s denial of a visa to a Belgian citizen who was

living in Belgium and sought entry to the United States to speak at a conference at

Stanford. See 408 U.S. at 756-757. Like in Lamont, the Court noted “the purpose

of the First Amendment to preserve an uninhibited marketplace of ideas,” and “the

right of the public to receive suitable access to social, political, esthetic, moral, and

other ideas and experiences[.]” Id. at 763. Notably, the Mandel court approved of

the district court’s explanation that the issue at hand was not “a non-resident

alien’s individual and personal interest in … being heard,” but “the rights of the

citizens of the country … to hear him explain and seek to defend his view.” Id. at

764.

       And in Thunder Studios, this Court held that the First Amendment protected

the speech and speech-related conduct of noncitizens that took place in the United

Arab Emirates and Australia. 13 F.4th at 740-744. The Court emphasized that

“domestic listeners” have the right to “receive speech from foreign speakers.” Id.

at 744. It then held that the foreign speakers themselves (and not just the domestic

listeners) were “protected under the First Amendment” because their speech was

“directed at and received by California residents.” Id. Thunder Studios therefore

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articulated two relevant principles: First, domestic listeners also have a First

Amendment right to receive foreign speech. Second, even “a noncitizen living

abroad has standing to claim the protections of the First Amendment” under certain

circumstances, such as when their speech is “directed at and received by” U.S.

residents. Id. 6

       These cases reaffirm that the district court abused its discretion by

overlooking the First Amendment rights that would be burdened by enforcing

Hey’s subpoena. The Tweets expose potential misconduct by high-level corporate

executives and discuss the risks associated with a major American private equity

firm’s affiliation with Hey. See 3-ER-186-187. Restrictions on the flow of this

information and these ideas from abroad burden the First Amendment rights of

U.S. citizens. Penalizing this speech may, for example, cut off valuable

information to U.S.-based investors. In Tweet 3, John Doe 2’s anonymous

statements about Hey were made in “respon[se] to a press release announcing that

Bain Capital had invested in [H]ey.” 1-ER-10. The Tweet questioned why Bain



       6
        Judge Lee’s dissent bolsters that reading of Thunder Studios. He wrote
separately to argue that the majority had erred because foreign speakers themselves
could not “seek refuge in … the First Amendment” where those speakers “lack[ed]
substantial voluntary connection to this country.” Id. at 748 (Lee, J., dissenting).
And while Judge Lee recognized that an American audience had a “right to receive
information from abroad,” he argued that foreign speakers who never “had any
connection to the United States” could not assert that right as a shield against the
application of California law. Id. at 752-753.
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Capital would make such an investment “while being aware of the risks,” id.,

underscoring that anonymous speakers abroad share valuable insights that

American companies may turn to when making business decisions inside the

United States. Compelled disclosure of anonymous online identities also may

silence voices from abroad that fuel political movements or academic studies

within the United States. The subject matter of Tweets 1A, 1, and 2—purported

sexual misconduct—exemplifies the kind of information that activists, scholars,

and journalists in America may hunt for online. Noncitizens in foreign countries

speaking anonymously—and thus without fear of reprisal—can offer crucial

perspectives that shape the actions of these U.S-based listeners.

      There is no principled basis for diminishing this right to receive speech from

abroad merely because it takes the form of anonymous online speech. See In re

Anonymous Online Speakers, 661 F.3d at 1173. The accountholders’ statements in

this case are equally critical to ensuring “the ‘uninhibited, robust, and wide-open’

debate and discussion that are contemplated by the First Amendment.” See

Lamont, 381 U.S. at 307. The protection of Highfields therefore is necessary for a

subpoena, like the one Hey seeks, that would unmask anonymous speakers, even if

those speakers may be noncitizens abroad. And while the right of “domestic

listeners” to hear the accountholders’ speech does not hinge on whether their

speech was “directed at” U.S.-based listeners, cf. Thunder Studios, 13 F.4th at 744,

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that the accountholders spoke on X, a U.S.-based platform, further underscores the

First Amendment interests at stake, because it cannot be assumed that the speech

was directed only at other noncitizens abroad. See also infra Section I.B.3.

             2.    Unmasking Anonymous Users Who Are Noncitizens Living
                   Abroad Burdens The Right Of Platforms To Make First
                   Amendment-Protected Editorial Decisions

      Unmasking the accountholders in this case also burdens X Corp.’s right to

curate the content on its platform. “First Amendment protection extends to

corporations” like X Corp. that are based in the United States. Citizens United v.

FEC, 558 U.S. 310, 342 (2010); see also Twitter, Inc. v. Garland, 61 F.4th 686,

711 (9th Cir. 2023) (discussing “Twitter’s First Amendment rights”). And the

exercise of “editorial control and judgment” by such corporations is protected by

the First Amendment. Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258

(1974). As the Supreme Court has explained, “[t]he choice of material to go into a

newspaper … and treatment of public issues and public officials—whether fair or

unfair—constitute the exercise of editorial control and judgment” protected by the

First Amendment. Id.

      This right to choose whether and how to host other people’s messages is not

“restricted to the [traditional] press.” Hurley v. Irish-American Gay, Lesbian &

Bisexual Grp. of Bos., Inc., 515 U.S. 557, 574 (1995). The Supreme Court has

accordingly held that a private utility cannot be forced to include third-party


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speech in its billing envelopes, Pacific Gas & Elec. Co. v. Public Utils. Comm’n of

Cal., 475 U.S. 1, 20-21 (1986) (plurality op.); that cable companies’ exercise of

editorial discretion over stations and programs is entitled to First Amendment

protection, Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 636 (1994); and that a

private parade organizer cannot be forced to include a group whose message it

disapproves, Hurley, 515 U.S. at 574-576. In so holding, the Court observed that

“the presentation of an edited compilation of speech generated by other persons …

fall[s] squarely within the core of First Amendment security” and that the

“selection of contingents” to make up that compilation “is entitled to similar

protection.” Id. at 570.

      These principles apply directly to X Corp.’s editorial policies concerning

how to disseminate content or to host certain speakers or speech. Numerous courts

have recognized that social media platforms “exercise editorial judgment that is

inherently expressive” and thus “engage in First-Amendment-protected activity”

when they determine what content to allow on their websites. See NetChoice, LLC

v. Attorney General, 34 F.4th 1196, 1213 (11th Cir. 2022), cert. granted sub nom.

Moody v. NetChoice, LLC, 2023 WL 6319654 (U.S. Sept. 29, 2023); see also, e.g.,

O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1186 (N.D. Cal. 2022), aff’d sub

nom. O’Handley v. Weber, 62 F.4th 1145 (9th Cir. 2023); Zhang v. Baidu.com Inc.,

10 F. Supp. 3d 433, 443 (S.D.N.Y. 2014). “[D]ecisions about what speech to

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permit, disseminate, prohibit, and deprioritize—decisions based on platforms’ own

particular values and views—fit comfortably within the Supreme Court’s editorial-

judgment precedents.” NetChoice, 34 F.4th at 1214. 7

      X Corp.’s decision to allow the accountholders and others to post content

anonymously on its platform is a paradigmatic editorial decision protected by the

First Amendment. Only some platforms permit and encourage users to post

content anonymously. For example, while X “allows the use of pseudonymous

accounts,”8 LinkedIn “does not allow members to use pseudonyms, fake names,

business names, associations, groups, email addresses, or special characters that do

not reflect [the member’s] real or preferred professional name.” 9 A platform like

X that chooses to cultivate anonymous content is making a “judgment about

whether and to what extent it will publish information to its users—a judgment

rooted in the platform’s own views about the sorts of content and viewpoints that

are valuable and appropriate for dissemination on its site.” NetChoice, 34 F.4th at



      7
        This Court has declined to reach that question, see O’Handley, 62 F.4th at
1156 n.1, and the Supreme Court is set to weigh in on the issue this term, see
Moody, 2023 WL 6319654, at *1 (granting certiorari on First Amendment
question).
      8
        See Misleading And Deceptive Identities Policy, X Help Center (Apr.
2023), https://help.twitter.com/en/rules-and-policies/x-impersonation-and-
deceptive-identities-policy.
      9
        Names Allowed On Profiles, LinkedIn Help, https://www.linkedin.com/
help/linkedin/answer/a1337288 (last visited Nov. 20, 2023).
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1210. And as discussed below, there are compelling reasons why a platform would

choose to create an environment where anonymous content can thrive. See infra

Section I.E.

      The district court improperly discounted these important rights—and thus

abused its discretion, Does Br. 7—when it declined to apply the Highfields test,

and instead concluded that it was sufficient for Hey to “describe[] the legal and

factual bases for its contemplated foreign legal proceeding’ and explain[] how the

discovery it seeks … ‘will aid prosecution of that proceeding.’” 1-ER-13. That

standard, which would too easily allow the issuance of subpoenas that unmask

anonymous users who are noncitizens abroad, would burden platforms’ rights to

make the curatorial choice to disseminate anonymous speech.

      A user who knows that a platform may be compelled in the future to identify

them without rigorous procedural safeguards will be less likely to speak

anonymously in the present. See John Doe No. 1 v. Reed, 561 U.S. 186, 195-196

(2010). A standard for unmasking anonymous speakers under which platforms

cannot reasonably assure their users of anonymity therefore creates an “intrusion

into the function of editors.” See Tornillo, 418 U.S. at 258. A standard that

functionally eliminates platforms’ ability to disseminate anonymous speech also

contravenes the “fundamental rule of protection under the First Amendment, that a

speaker has the autonomy to choose the content of his own message,” including

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“those choices of content that in someone’s eyes are misguided, or even hurtful.”

Hurley, 515 U.S. at 573-574.

             3.    Unmasking Anonymous Speech Hosted By U.S.-Based
                   Platforms May Burden The First Amendment Rights Of
                   The Speakers, Even If They Are Noncitizens Abroad

      Finally, the subpoena in this case risks burdening the First Amendment

rights of noncitizens with substantial connections to the United States. Although

some noncitizens lack First Amendment rights, the Supreme Court has emphasized

that noncitizens may enjoy constitutional protections by virtue of “significant

voluntary connection with the United States.” See United States v. Verdugo-

Urquidez, 494 U.S. 259, 271 (1990).

      This Court has thus found that noncitizens with substantial voluntary

connections to the United States can assert constitutional claims. In Ibrahim v.

Department of Homeland Security, this Court held that a noncitizen abroad, who

alleged that she was mistakenly placed on the no-fly-list and thus barred from

entering the United States, could assert a First Amendment claim. 669 F.3d 983,

986 (9th Cir. 2012). The noncitizen had “established ‘significant voluntary

connection’ with the United States” under Verdugo-Urquidez, and her claim arose

from facts that “further[ed]” rather than “sever[ed]” “her connection to the United

States.” Id. at 997. And in Wang v. Reno, the Court held that a noncitizen could

bring a Fifth Amendment due-process claim under the principles articulated in


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Verdugo-Urquidez because he did not experience “an isolated, extraterritorial

violation of the Constitution,” but rather a violation of his rights “on American

soil” and “in an American courtroom.” 81 F.3d 808, 817 (9th Cir. 1996). Both

Ibrahim and Wang were distinguishable from the facts of Verdugo-Urquidez,

where the noncitizen lacked such a substantial voluntary connection because “he

was a citizen and resident of Mexico with no voluntary attachment to the United

States,” and his claim arose from an allegedly unconstitutional search that took

place “in Mexico.” 494 U.S. at 274-275.

      Moreover, this Court has indicated that, where First Amendment speech

rights are at issue and speech is directed at U.S. listeners, the “significant voluntary

connection” standard of Verdugo-Urquidez, 494 U.S. at 271, may be insufficiently

protective. See Thunder Studios, 13 F.4th at 744. As Thunder Studios noted,

“[s]peech was not at issue” in Verdugo-Urquidez and “the only action at issue

occurred outside the United States.” Id. The Court also distinguished Ibrahim

because that case “involved freedom of association rather than speech.” Id. The

Court moreover considered whether the Supreme Court’s decision in Agency for

International Development v. Alliance of Open Society International, Inc., 140 S.

Ct. 2082 (2020), had restricted the rights of noncitizen speakers abroad who direct

their speech at the United States—and concluded that it had not, see Thunder

Studios, 13 F.4th at 744. As Judge Lee recognized in dissent, Thunder Studios thus

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extends the First Amendment’s protection even to noncitizens who “conduct no

business in America” and have likely never “set foot on American soil.” Id. at

749, 752 (Lee, J., dissenting) (disagreeing with the Court’s conclusion but

recognizing its breadth).

      This Court’s precedents therefore refute the district court’s assumption that

noncitizens abroad have no First Amendment rights. A noncitizen abroad who

speaks anonymously on a U.S.-based platform may enjoy First Amendment rights

for a number of reasons. She “further[s] … her connection to the United States”

by speaking on a U.S.-based platform and in doing so may establish a “significant

voluntary connection” with the United States. Cf. Ibrahim, 669 F.3d at 997. She

may be directing her speech toward American listeners by choosing a U.S.-based

platform rather than a foreign alternative. And she may have a substantial

voluntary connection to the United States by virtue of facts not apparent from the

record. Any standard for unmasking anonymous speakers must account for and

protect these First Amendment interests.

      C.     The Near-Uniform Practice Of Jurisdictions Across The Country
             Supports Application Of The Highfields Test

      The principles articulated in Highfields ensure that courts adequately balance

a subpoena’s chilling effect on First Amendment-protected anonymous speech

against a party’s need for discovery. Even as the details of their inquiries differ at

the margins, jurisdictions across the country have adopted a framework that
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parallels Highfields by requiring a party seeking to unmask anonymous speech to

demonstrate (often with evidence) that it has a viable claim, and that unmasking

the speaker is necessary to support that claim. The practice of courts across the

country thus favors the application of Highfields to subpoenas that seek to unmask

anonymous speakers.

      The tests adopted by these courts share two core features: plaintiffs must

show that (1) the claim for which they are seeking to unmask the speaker is viable

and (2) unmasking the speaker is necessary to their pursuit of that claim.

      First, these tests all require plaintiffs to make some showing that they have a

viable claim. Like in Highfields, the required showing typically is evidentiary—

plaintiffs must do more than satisfy a mere pleading standard. 385 F. Supp. 2d at

975-976. The landmark decision in Dendrite International, Inc. v. Doe No. 3

explained, for instance, that a plaintiff must make out “a prima facie case” by

“produc[ing] sufficient evidence supporting each element of its cause of action”

before a court could unmask the speaker’s identity. 775 A.2d 756, 760 (N.J. App.

Div. 2001).

      Other jurisdictions have likewise required that plaintiffs establish a prima

facie case. See, e.g., Doe v. Coleman, 497 S.W.3d 740, 746-747 (Ky. 2016);

Thomson v. Doe, 356 P.3d 727, 734-735 (Wash. App. 2015); In re Ind.

Newspapers Inc., 963 N.E.2d 534, 552 (Ind. App. 2012); Pilchesky v. Gatelli, 12

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A.3d 430, 443-444 (Pa. Super. 2011); Independent Newspapers, Inc. v. Brodie, 966

A.2d 432, 456 (Md. 2009); Krinsky v. Doe 6, 159 Cal. App. 4th 1154, 1172 (2008).

Still other jurisdictions set the bar even higher, requiring plaintiffs to introduce

“evidence creating a genuine issue of material fact for all elements of [their] claim

within the plaintiff’s control.” Doe v. Cahill, 884 A.2d 451, 460, 463 (Del. 2005);

see also, e.g., Solers, Inc. v. Doe, 977 A.2d 941, 954 (D.C. 2009) (similar);

Mobilisa, Inc. v. Doe, 170 P.3d 712, 720 (Ariz. App. 2007) (similar).

      At the very least, district courts have required a plaintiff seeking to unmask

an anonymous speaker to establish that it “could withstand a motion to dismiss,”

see Columbia Ins. Co. v. seescandy.com, 185 F.R.D. 573, 579 (N.D. Cal. 1999), or

that it has a “legitimate, good faith basis to contend that it may be the victim of

conduct actionable in the jurisdiction where the suit was filed,” In re Subpoena

Duces Tecum to America Online, Inc., 52 Va. Cir. 26 (2000), rev’d on other

grounds, America Online, Inc. v. Anonymous Publicly Traded Co., 261 Va. 350

(2001). As a California appeals court observed, “[e]ven the decisions imposing a

motion-to-dismiss obligation nonetheless require ‘some showing’ that the tort took

place.” Krinsky, 159 Cal. App. 4th at 1171.

      Second, courts across the country consistently mirror Highfields by requiring

that the plaintiff seeking to unmask an anonymous speaker show that the

unmasking is necessary to allow the plaintiff to pursue its claim. See 385 F. Supp.

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2d at 976. In some jurisdictions, courts are even expressly required to consider the

availability of alternative discovery methods. Once again, Dendrite is instructive.

Dendrite emphasized that the standard a court uses to evaluate a subpoena seeking

to unmask an anonymous speaker must “balance the defendant’s First Amendment

right of anonymous free speech against the strength of the prima facie case

presented and the necessity for the disclosure of the anonymous defendant’s

identity to allow the plaintiff to properly proceed.” 775 A.2d at 760-761 (emphasis

added).

      Other courts have followed suit, articulating a requirement that plaintiffs

demonstrate that disclosure of the anonymous speaker’s identity is critical to the

success of a viable claim. See, e.g., In re Ind. Newspapers, 963 N.E.2d at 552;

Pilchesky, 12 A.3d at 444-445; Brodie, 966 A.2d at 457; Krinsky, 159 Cal. App.

4th at 1172; Mobilisa, 170 P.3d at 720. In California, for instance, a court will

refuse to quash a subpoena only if the plaintiff makes a prima facie showing of the

elements of its claim and “it is clear to the court that discovery of the defendant’s

identity is necessary to pursue the plaintiff’s claim.” Krinsky, 159 Cal. App. 4th at

1172. And in Arizona, an evidentiary showing alone is not sufficient because a

plaintiff’s “ability to survive summary judgment would not account for” cases in

which the plaintiff “may have only a slight need for the anonymous party’s

identity.” Mobilisa, 170 P.3d at 720.

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      In some jurisdictions, courts evaluate the necessity of disclosure by

considering “the availability of alternative discovery methods.” See Mobilisa, 170

P.3d at 720; accord In re Ind. Newspapers, 963 N.E.2d at 552 (“Factors that the

trial court should consider in balancing the parties’ rights include … ‘the

availability of other discovery methods.’”). Unless “the requested information …

is unavailable by other means” and “is fundamentally necessary to secure relief,”

the balance of interests does not favor unmasking the anonymous speaker. See

Pilchesky, 12 A.3d at 444-445. While not all jurisdictions “require a showing that

the plaintiff has exhausted alternative sources for learning the information” sought,

see Solers, Inc., 977 A.2d at 954-956 (emphasis added), the jurisdictions that forgo

this requirement typically impose a demanding summary judgment evidentiary

standard. Their logic is that the summary judgment standard itself “balance[s] the

defendant’s First Amendment rights against the strength of the plaintiff’s prima

facie case.” Cahill, 884 A.2d at 461. Even so, some of these jurisdictions still

require that a court “ensure that the information sought is important to the

litigation.” Solers, Inc., 977 A.2d at 955.

      D.     Supreme Court Jurisprudence Applying “Exacting Scrutiny” To
             Burdens On Anonymous Speech Likewise Supports Application
             Of The Highfields Test

      The Supreme Court applies an “exacting scrutiny” standard to burdens on

the right to speak anonymously, including to compelled disclosure requirements


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that target individual anonymous speakers and thus regulate “pure speech.” See

McIntyre, 514 U.S. at 345-346; Reed, 561 U.S. at 196. This same exacting

scrutiny standard applies to disclosure requirements that unmask a speaker only

after she has spoken. See Reed, 561 U.S. at 195-196. The Supreme Court likewise

applies exacting scrutiny to “compelled disclosure of affiliation with groups

engaged in advocacy,” recognizing that such compelled disclosure burdens the

right to speak anonymously as well as the related right to associate. Americans for

Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2382 (2021) (“AFP”) (internal

quotations omitted). Under the exacting scrutiny standard, there must be a

“substantial relation between the disclosure requirement and a sufficiently

important governmental interest” and “the disclosure requirement [must] be

narrowly tailored to the interest it promotes.” Id. at 2385.

      In the specific context of subpoenas that seek to unmask anonymous

speakers, the Highfields test implements the exacting scrutiny that generally

applies to burdens on anonymous speech. Just as exacting scrutiny requires some

“substantially relevant correlation between the governmental interest asserted and

the State’s effort to compel disclosure,” AFP, 141 S. Ct. at 2384, Highfields

requires a “real evidentiary basis” for the claims it seeks to assert, 385 F. Supp. 2d

at 975-976. And like exacting scrutiny’s narrow tailoring requirement, which takes

into account the extent to which a burden on First Amendment rights is

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“unnecessary,” AFP, 141 S. Ct. at 2385, the “real evidentiary basis” requirement of

Highfields ensures that the court does not “invade … rights that are fundamental

and fragile” in an “unjustified” manner, 385 F. Supp. 2d at 975. Finally,

Highfields requires the court “to assess and compare the magnitude of the harms

that would be caused to the competing interests” of the anonymous speaker and the

plaintiff. Id. at 976. This echoes the exacting scrutiny standard’s evaluation of

whether a chill on First Amendment activity—even an indirect one—is

substantially related to an important government interest. AFP, 141 S. Ct. at 2384.

      The Highfields test therefore establishes the minimum standard that courts

must apply when reviewing subpoenas that seek to unmask anonymous speakers,

regardless of the nature of the anonymous speech. This Court has observed that

“the nature of the speech should be a driving force in choosing a standard by which

to balance the rights of anonymous speakers in discovery disputes.” In re

Anonymous Online Speakers, 661 F.3d at 1177. Accordingly, a more demanding

standard than Highfields may be appropriate in some cases, such as when a

plaintiff seeks to unmask “expressly political” anonymous speech. See id. But

even when an anonymous speaker engages in purely commercial speech—a

narrow category not applicable here—the protections of Highfields apply. See,




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e.g., Tokyo Univ., 2021 WL 4124216, at *4. 10 No matter what variety of speech is

at issue, Highfields serves as an essential “means of ensuring that plaintiffs do not

use discovery procedures to … harass, intimidate or silence critics.” Dendrite, 775

A.2d at 771. Any lower standard could “needlessly strip defendants of anonymity

in situations where there is no substantial evidence of wrongdoing, effectively

giving little or no First Amendment protection to that anonymity.” Solers, 977

A.2d at 952.

      E.       Vital Public Interests Served By Anonymous Speech Support
               Application Of The Highfields Test

      Finally, the Highfields test serves the public interest by appropriately

safeguarding the right to speak anonymously on the Internet. Like the Supreme

Court, this Court has recognized that “the ability to speak anonymously on the

Internet promotes the robust exchange of ideas and allows individuals to express

themselves freely without ‘fear of economic or official retaliation … [or] concern

about social ostracism.’” In re Anonymous Online Speakers, 661 F.3d at 1173

(quoting McIntyre, 514 U.S. at 341-342) (alterations in original).




      10
        Commercial speech is a narrow category of speech that “does no more
than propose a commercial transaction.” Hunt v. City of Los Angeles, 638 F.3d
703, 715 (9th Cir. 2011). As Highfields illustrates, even when speech is made in a
business context, “the challenged conduct and the harm suffered” will not always
be “‘commercial’ in nature.” 385 F. Supp. 2d at 976.
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      The right to speak anonymously continues to shape and improve modern

life. The Internet in particular has allowed anonymous speech to flourish by

providing outlets for, and means of, communication that never existed before. This

anonymity enables valuable communications that would not otherwise occur, such

as tips through anonymous reporting mechanisms 11; whistleblower reports of

suspected fraud, abuse, or criminal activity 12; and confidential sources who reveal

information of great public importance to journalists. 13 Anonymous speech allows

individuals to share personal information they would not otherwise disclose,

enabling them to seek help for addiction or mental-health issues, 14 or to seek

spiritual and religious guidance. 15 And anonymous speech nourishes a vibrant



      11
        See Libit, Elements of an Effective Whistleblower Hotline, Harvard Law
School Forum on Corporate Governance (Oct. 25, 2014), https://corpgov.law.
harvard.edu/2014/10/25/elements-of-an-effective-whistleblower-hotline.
      12
         See U.S. Gov’t Accountability Office, Report and Prevent Fraud,
https://www.gao.gov/about/what-gao-does/fraud (last visited Nov. 20, 2023).
      See Reporters’ Comm. for Freedom of Press, Reporter’s Privilege
      13

Compendium, https://www.rcfp.org/reporters-privilege (last visited Nov. 20, 2023).
      14
          See Alcoholics Anonymous, Understanding Anonymity 5-6 (June 2023),
https://www.aa.org/sites/default/files/literature/p-47_understandinganonymity.pdf;
Substance Abuse and Mental Health Services Administration, National Helpline:
Frequently Asked Questions, https://www.samhsa.gov/find-help/national-helpline
(last visited Nov. 20, 2023) (“The service is confidential. We will not ask you for
any personal information.”).
      15
        See Araujo, International Tribunals and Rules of Evidence: The Case for
Respecting and Preserving the “Priest-Penitent” Privilege under International
Law, 15 Am. U. Int’l L. Rev. 639, 645 (2000).
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artistic and literary landscape,16 enabling creators to provoke without fear of

backlash, or reach a wider audience without fear of bias. See McIntyre, 514 U.S. at

341 & n.4. That is to say nothing of the critical role anonymity continues to play

in the political arena. Id. at 342-343 (“[E]ven in the field of political rhetoric …

the most effective advocates have sometimes opted for anonymity.”).

      The freedom to speak anonymously online is a key component of this right.

As the Supreme Court has observed, “[w]hile in the past there may have been

difficulty in identifying the most important places (in a spatial sense) for the

exchange of views, today the answer is clear. It is cyberspace—the ‘vast

democratic forums of the Internet’ in general, and social media in particular.”

Packingham v. North Carolina, 582 U.S. 98, 104 (2017). Internet users may

disclose sensitive personal information and political or ideological viewpoints, or

even engage directly with their elected representatives to “make [their] voice

heard.” See id. at 107. Data reveals that a clear majority of Internet users surveyed

view anonymity on the Internet as vital, and that many have taken advantage of

opportunities to remain anonymous online.17 Anonymity on the Internet can, after




      16
           See Why Do Some Writers Use Pseudonyms?, The Economist (July 25,
2013).
      17
        Rainie et al., Anonymity, Privacy, and Security Online, at Part 1, Pew
Research Center (Sept. 5, 2013), https://www.pewresearch.org/internet/2013/
09/05/anonymity-privacy-and-security-online.
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all, create space for activism and keep victims of violence and harassment safe

from retribution by concealing their activities or location. It can also allow those

looking to discuss sensitive personal topics—from fertility challenges to grief,

abuse, and depression—to find a community. Where users cannot count on

anonymity, these vital outlets are compromised.

II.   THE DISTRICT COURT ABUSED ITS DISCRETION BY DENYING THE MOTION
      TO QUASH THE SUBPOENA BECAUSE HEY DID NOT SATISFY HIGHFIELDS

      The district court abused its discretion when it overlooked the critical First

Amendment rights at stake in this case and denied the motion to quash the

subpoena. As Does explain, “because [they] presented unopposed facts that would

defeat [Hey’s] lawsuit in Japan,” Hey did not meet the Highfields test. Does Br. 7.

The district court therefore erred in not quashing the subpoena.

      Under Highfields, Hey was required to present a prima facie case, or “real

evidentiary basis,” for believing that the accountholders engaged in wrongful

conduct causing real harm to Hey’s interests. 385 F. Supp. 2d at 975-976. Hey did

not establish a prima facie claim of defamation under Japanese law, and thus did

not satisfy the Highfields test. To hold a defendant liable for tortious conduct

under the Japanese Civil Code, a plaintiff must establish that the defendant has

unlawfully infringed rights or interests of the plaintiff protected by law and thereby

caused the plaintiff to suffer damages. See 3-ER-237 (¶¶ 6-7). A statement does

not constitute defamation if it is “not specific enough for an ordinary reader to
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identify that the statement concerns the plaintiff.” 3-ER-238 (¶ 8.a). Nor is a

statement defamatory if it does not “harm[] the victim’s social reputation.” 3-ER-

238 (¶ 8.b). And even if a statement harms the plaintiff’s social reputation, the

defendant will not be liable if the statement is on a matter of public interest, was

made for the benefit of the public, and there are sufficient reasons to believe the

facts underlying the statement are true. 3-ER-239 (¶ 9). Hey did not make an

evidentiary showing that it can prove defamation under these elements.

      First, Hey did not establish that Tweets 1A, 1, and 2 constituted unlawful

defamation because those Tweets contain statements that are insufficiently specific

to defame Hey. Japanese courts consider whether the statement is “specific

enough for an ordinary reader to identify that they are about the victim.” 3-ER-238

(¶ 8.a). Tweets 1A, 1, and 2 do not meet this standard. As relevant here, Tweets

1A and 1 refer to a “tequila incident” that “happened sometime after” one of the

speakers advised a friend about “some shady stuff” at “a certain company H,” and

to the conduct of “the top of a certain company H” who previously “was at

Frea○Out.” 3-ER-186. Tweet 2, responding to Tweets 1A and 1, refers only to “a

certain company F” and “a certain company H.” 3-ER-187.

      While Hey understands these Tweets to reference Hey, its former CEO

Mitsumoto, and its current CEO Sato, an ordinary reader would not. The Tweets

do not name Hey, Mitsumoto, or Sato. The Tweets do not explain what the

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“tequila incident” was or link it to Hey or Mitsumoto; indeed, the event that Hey

assumes the “tequila incident” is referencing took place months after Mitsumoto

left Hey. 3-ER-240 (¶ 14.b). And an ordinary reader would understand, at most,

that the Tweets reference an executive of an unnamed “company H” who once

worked at a company “Frea○Out” (whose name the speaker intentionally obscured,

2-ER-161 (¶ 12)). To interpret the Tweets as referencing Hey, a reader would have

to know that Sato was previously affiliated with a company called “FreakOut,” that

he had since become an executive at a “company H,” and that the company in

question was Hey—a tall order given the hundreds of individuals affiliated with

companies (plural) named “FreakOut,” 3-ER-241 (¶ 15).

      Second, to the extent the Tweets were specific enough for an objective

reader to understand them as referencing Hey, none was defamatory because none

harmed Hey’s social reputation. Under Japanese law, “abstract, non-particularized

and unspecific statements directed against the plaintiff are not defamatory”

because they cannot damage the plaintiff’s social reputation. 3-ER-238 (¶ 8.b).

Moreover, when “unethical behavior … only relates to the individual’s private

life,” it “does not damage a company’s social reputation.” 3-ER-242 (¶ 18). And

“whether a statement of opinion or criticism, without factual statements, harms

one’s reputation … should be strictly judged.” 3-ER-238 (¶ 8.c).




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      These principles foreclose a defamation claim based on the statements at

issue here. As noted, none of the Tweets names Hey, the purported victim of

defamation. See supra pp.44-45. Instead, Tweets 1 and 2 opine on the behavior of

individuals, and do so with “unspecific” statements that are incapable of harming

Hey’s reputation as a matter of law. Tweet 1 states obliquely that “the top of a

certain company H” slept with employees at a previous company and “apparently

… continue[s] hitting on employees” at “company H,” which the author opined

was “inappropriate.” 3-ER-186. Tweet 2 claims only that the author had heard the

unnamed individual “was particularly aggressive when he was at the certain

company F.” 3-ER-187. Viewed objectively, these statements at most criticize

unethical behavior by Hey employees, not by Hey itself, and thus cannot harm

Hey’s social reputation under Japanese law. 3-ER-242 (¶ 18).

      Tweets 1A and 3 refer abstractly to what the author perceives as the “risk”

presented by investment in Hey. Tweet 1A mentions “shady stuff” that caused

another person to form a “personal[] feeling” that involvement with “a certain

company H” was “risky.” 3-ER-186. Tweet 3 expresses confusion as to why the

“super-talented people” at “Ba○n Capital” would “invest on hey while being aware

of the risks.” 3-ER-187. Investment is always a risk. Calling attention to that

risk—especially in the form of an amateur opinion that offers no concrete




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supporting facts—cannot damage Hey’s social reputation under the “strict[]

judg[ment]” of Japanese courts. 3-ER-238 (¶ 8.c).

      Tweet 4, while critical of specific individuals currently or previously

affiliated with Hey, is far too abstract to harm Hey’s social reputation. Tweet 4

opines that “entrepreneurship embracing unethical and law-evading spirits,” like

that of Mitsumoto and Sato, “should be criticized.” 3-ER-187. As noted, the

opinion that Mitsumoto and Sato are “unethical and law-evading,” id., reflects only

on them as individuals, not on Hey. Even if an ordinary reader came to the

conclusion that Tweet 4 was calling for Hey to be criticized for employing those

individuals, that unspecific disapproval of the company can hardly damage its

social reputation.

      Third, Hey did not establish that it suffered any damages caused by the

accountholders’ statements. 3-ER-237 (¶¶ 6-7); 3-ER-239 (¶ 10). Hey’s Japanese

legal expert claimed that the Tweets harm Hey by “diminishing [its] social

reputation and infring[ing] its honor.” 2-ER-74 (¶ 15). As explained below, they

did not. But in any case, these conclusory assertions do not provide evidentiary

support for Hey’s claim that the Tweets caused the company harm.

      Nor can such support be found in the declaration of Hey CEO Sato. Sato

laments that the accountholders’ statements have “spread across [X].” 2-ER-151

(¶ 2). But Sato offers no context for what this “spread” entails or how it damaged

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Sato. A court cannot determine, based on Sato’s claim, that the Tweets “would

sully [Hey’s] reputation in any quarter that might matter to it.” Highfields, 385 F.

Supp. 2d at 981. Sato further states that the anonymous author of Tweet 4 has

been “trolling” Hey employees on X, which has “obstructed” the employees’

“activities through [X].” 2-ER-151-152 (¶¶ 3-4). But Sato does not explain how X

use by Hey’s employees contributes to Hey’s business or how this purported

“obstruct[ion]” has detracted from it. 2-ER-152 (¶ 4). And Sato claims that the

same anonymous user has “tagged [Hey’s] [X] account with malicious replies to

sponsorship posts by sponsors of a large event for engineers,” which Sato

“assume[s]” is an effort to damage Hey. 3-ER-152 (¶ 4). Sato nowhere explains

how these “sponsors of a large event” relate to Hey, or how the Tweets tagging

these sponsors (which Hey does not seek to unmask) even damaged Hey.

      Finally, even if the Tweets had harmed Hey, Hey did not establish that the

accountholders are liable for that harm by putting forth evidence that the

statements were false or that they were not made for the benefit of the public. 3-

ER-239 (¶ 9); 3-ER-243 (¶¶ 23-24). As the Does’ legal expert explained, “under

Japanese law, even if the Tweets are defamatory, if the facts presented by the

Tweets are true or there are proper reasons to believe they are true, the Tweets are

not unlawful.” 3-ER-169 (¶ 9). And as one court applying a Highfields-like

standard observed, “[a] plaintiff does not make a prima facie claim of defamation

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if the contested statement is essentially true.” Cf. Dendrite, 775 A.2d at 772; see

also Tokyo Univ., 2021 WL 4124216, at *5 (quashing subpoena where “it is not

clear that the statements in the tweet are false”). Here, the record includes a

declaration from John Doe 1 explaining that the statements at issue were based on

personal knowledge. See 2-ER-160-162. Hey did not dispute this evidence, and

thus cannot establish that the Does would be liable for defamation.

      Hey also failed to establish a prima facie case of unlawful business

interference. A plaintiff alleging unlawful business interference must “establish

that its business has incurred loss as a result of the statements, such as loss of

customers and other actual harm to the business.” 3-ER-239 (¶ 10). As explained

above with respect to defamation, Hey did not make this required showing. See

supra pp.47-48.

      While Hey’s failure to establish a prima facie case is dispositive under

Highfields, the Highfields test also cannot be satisfied because the balance of

harms underscores that unmasking the anonymous speakers is not necessary to

enable Hey to protect against or remedy serious wrongs.

      The harm of unmasking the accountholders is well-established in the

caselaw and clear from the record. Unmasking the accountholders would chill

their speech, as both Does averred in their declarations: “I wish to stay anonymous

so that I can continue to express my opinion on matters freely. If my identity is

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revealed, I will be prevented from freely expressing my opinion in the future.” 2-

ER-162 (¶ 14); 2-ER-165 (¶ 6). This chilling effect is precisely what courts

balancing the interests of the speaker and the plaintiff strive to prevent. As the

Highfields court put it, “[a]nonymity liberates.” 385 F. Supp. 2d at 980.

“[E]nforcing a subpoena in this kind of setting poses a real threat to chill protected

comment on matters of interest to the public.” Id.; see In re DMCA, 608 F. Supp.

3d at 876 (“discovery would likely have a chilling effect”). Unmasking the

accountholders would have greater consequences still—the refusal to honor their

anonymity threatens to purge valuable expression from the Internet, see supra

Section I.E, and burdens the First Amendment rights of X Corp. and its users, see

supra Section I.B.

      By contrast, as explained above, the purported harm to Hey from the

accountholders’ statements is purely speculative. Hey points to paltry evidence

that its own reputation, or that of its current or former CEO, has been harmed by

the Tweets. See supra pp.47-48. At bottom, Hey offers “no reason to believe that

there is any risk that these messages will draw clients to [its] competitors or will

cause potential clients to pause before engaging [its] services.” Highfields, 385 F.

Supp. at 981. The balance of harms therefore favors the accountholders.

                                  CONCLUSION

      This Court should reverse the district court and quash the subpoena.


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                                              Respectfully submitted,

                                              /s/ Ari Holtzblatt
JONATHAN HAWK                                 ARI HOLTZBLATT
MCDERMOTT WILL & EMERY                        JEREMY W. BRINSTER
2049 Century Park East                        WILMER CUTLER PICKERING
Suite 3200                                       HALE AND DORR LLP
Los Angeles, CA 90067                         2100 Pennsylvania Avenue NW
(310) 788-4181                                Washington, DC 20037
                                              (202) 663-6000
                                              ari.holtzblatt@wilmerhale.com
                                              EMILY BARNET
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              7 World Trade Center
                                              250 Greenwich Street
November 20, 2023
                                              New York, NY 10007




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      I hereby certify that on this 20th day of November, I electronically filed the

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                                               ARI HOLTZBLATT
